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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,                             )
                                                      )
                 vs.                                  )   Case No. 1:22-cr-00259-TNM
                                                      )
BERNARD JOSEPH SIRR,                                  )
                                                      )
          Defendant.                                  )
                                                      )

                           SENTENCING MEMORANDUM
                  ON BEHALF OF DEFENDANT BERNARD JOSEPH SIRR

         In the late evening of January 5, 2021, Bernard Sirr traveled from his home in

Rhode Island to Washington, DC without any plans except to attend the former president’s rally

on January 6, 2021. He returned the next day ashamed of his conduct in the Lower West Terrace

tunnel, where he joined a group of other rioters in a thoughtless attempt to protest the results of

the 2020 presidential election at the Capitol.1 Bernard has pleaded guilty in recognition that his

behavior was illegal. Now 47 years-old with no prior criminal record, he faces punishment for

what he did.

         For the reasons below, Bernard submits the Court should sentence him to 36 months’

probation with the condition that he provide 80 hours of community service, as well as pay

$2,000 in restitution and the mandatory special assessment fee of $100. Such a sentence would

be appropriate and serve the interests of justice in this case, chiefly because the events on

January 6th were so perfectly out of character for him that there should be special exception and

consideration for that. Should the Court find that his offense warrants a custodial sentence,




1
    “Where all think alike, no one thinks very much.” –Walter Lippmann

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however, a 30-60 day period of incarceration, followed by a 12-month term of supervised

release, would not be greater than necessary to promote the goals of sentencing in this case.

                               I.   SUMMARY OF ARGUMENT

       Bernard Sirr is an honorably discharged Army veteran, master electrician, and decades-

long true family man and law-abiding citizen. His offense took place during the afternoon of

January 6, 2021 on the West side of the United States Capitol—a time and place this Court is

undoubtedly familiar with, having presided over trials of multiple defendants whose offenses are

connected to the Capitol breach.

       For Bernard, he did not plan to protest at the Capitol building on January 6. Like many

others, he attended the rally and made his way to the Capitol only after President Trump’s

speech. At the Capitol, Bernard advanced to the tunnel area of the Lower West Terrace where he

would join a group of other rioters that confronted members of the Capitol Police and

Metropolitan Police Department. A full account of his conduct is provided in the Statement of

Offense (Doc. 38)—conduct that Bernard deeply regrets. That regrettable conduct, however, is

not the end of the story with respect to fashioning an appropriate sentence.

       While Bernard’s participation in the January 6 riot is certainly worthy of punishment, a

just result in this case does not require the imposition of a sentence as severe as the sentencing

guidelines, probation, or the government might suggest. Bernard’s offense must be judged in the

context of other similarly-situated offenders so that unwarranted sentencing disparities can be

avoided. Likewise, his history and many other good characteristics require consideration too.

       A careful review of the sentences imposed in the January 6 cases shows that sentences in

the advisory guideline range of 8-14 months’ incarceration have been meted out in those

instances where the defendant acted as a leader in the riot, possessed a weapon, wore body

armor, assaulted law enforcement officers, entered and walked around inside the Capitol

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building, or otherwise engaged in conduct readily distinguishable from Bernard, who even

probation acknowledges was “average” among the non-peripheral offenders in the Capitol

breach. (PSR ¶ 43.) Defendants found guilty of conduct more akin to Bernard’s have instead

received sentences ranging from probation and restitution, to 1-3 months of imprisonment–

sometimes served in the form of home detention.

       The sentencing chart filed herewith confirms this.2 And as compelling a review of that

chart and comparison of the cases might be, when this analysis is coupled with an honest

application of the other federal sentencing factors—focusing on the history and characteristics of

the defendant and need for punishment—the proposition that justice in this case will be served

by a sentence well below the advisory guideline range becomes clear.

       By all accounts, Bernard has led an ordinary and modest life. He has never been in

trouble with the law prior to the instant offense. He is expected to never re-offend again. Further,

he has been cooperative with the authorities and has acknowledged his guilt from the start of this

case. Prior to changing his plea, he gave a voluntary interview to the FBI in which he admitted to

his unlawful conduct and provided all the information he had about the events of January 6.

       Furthermore, Bernard has already suffered real consequences for his actions and has been

punished in ways that will be lasting. First, Bernard has pleaded guilty to a felony which will

follow him for the rest of his days. Second, Bernard has lost a well-paying government job with

benefits he likely would have held until retirement. Third, the publicity surrounding his offense

continues to cost him as a master electrician now working on a freelance basis, which has created



2
  After taking inventory of the cases in which a January 6 defendant was sentenced for a
conviction of 18 U.S.C. § 231(a)(3), defense counsel prepared a sentencing chart to summarize
the sentencing data, relevant conduct, and noteworthy offender characteristics for each matter. A
copy of that chart is attached as Exhibit A, and its information is current as of May 5, 2023.

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a financial hardship for his family among other tangible burdens. It would be overly harsh to add

a prison sentence to the list of consequences already endured by Bernard.

        Even during that dark day which has brought shame to both Bernard and his family, bits

of his core goodness shined through. Video, for example, shows him passing a flagpole over the

police line to law enforcement to stymie its probable use as a weapon. Additionally, body-worn

cameras recorded a conversation between an officer and Bernard in which he can be heard

discussing pressing backwards against the mob to give officers a bit of breathing room.3 This is

not to deny that Bernard was in a place he shouldn’t have been. Rather, it serves to highlight that

even within the context of that fateful day, his core peaceful nature and respect for law

enforcement were still at least partially visible.

        For these reasons, after reviewing the offense conduct, sentencing guidelines, and

applying the factors of § 3553(a), the goal of just punishment can be advanced here by a sentence

of probation, community service, and restitution. But if the Court feels that the circumstances of

this case require additional punishment, a brief period of incarceration—even if served as home

detention, which would not be a plush staycation for him—would be sufficient but not greater

than necessary to address his conduct in this case.

                                II. PERSONAL BACKGROUND

        Bernard was born in June of 1975. He was raised in a town outside of Providence,

Rhode Island called North Kingstown, where he enjoyed a happy and normal childhood. His

parents did not have a lot of money, though he never knew they struggled financially. His late




3
  See the video files at Exhibit B through Exhibit E, which have been provided to the Court and
the government via a secure filesite sharing platform.

                                                     4
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father was a small business owner who had a landscaping company, and his mother—now retired

and 75 years-old—was a math teacher. Bernard has a younger brother who today works in sales.

       In June of 1993, Bernard graduated from North Kingstown Senior High School. After

earning his associate’s degree in science from the community college, Bernard made the selfless

decision to enlist in the United States Army in 1997 until his honorable discharge in 2001. While

in the Army, Bernard was stationed at Fort Drum in New York. He also deployed to Bosnia for a

peacekeeping mission, where he lived for 9 months setting up checkpoints, searching for war

criminals and weapons, and escorting civilians safely. His exemplary military service is noted by

his Army service records which list multiple decorations, medals, citations, and campaign

ribbons, including: a (1) NATO Medal (2nd Award); (2) Army Commendation Medal; (3) Army

Achievement Medal; (3) Armed Forces Expeditionary Medal; (4) Army Service Ribbon; and (5)

Marksman Marksmanship Qualification Badge with Rifle Bar. (PSR ¶¶ 100-101.)4 Upon his

honorable discharge from the Army in February of 2001, Bernard returned home to his family in

Rhode Island.

       Bernard married his teenage sweetheart Kathryn in December of 1999. Kathryn works

with youth as a junior high school speech and language pathologist for a regional public school

district in Rhode Island. Bernard and Kathryn have been happily married for more than 20 years,

and together they raised two beautiful children: Joseph and Caroline.

       Bernard’s wife and children mean the world to him. This observation is shared by all who

know him. As the many character letters point out, Bernard is a kind and loving husband and

father. Like most dads, he has a special bond with his daughter who is a talented artist and full-



4
 Copies of the Army Commendation Medal and Army Achievement Medal are attached as
Exhibit G.

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time college student who Bernard helps support to this day for the reasons mentioned in the

presentence report. (PSR ¶ 78.) Bernard is also very close to his son, brother, and mother. His

mother in particular is elderly and physically more limited. She had both of her hips replaced and

a complete shoulder replacement, so she depends upon Bernard. “[M]any things I used to do are

difficult or almost impossible for me to do now. He is very helpful . . . and does all he can to

make my life easier. My house has stairs and what he does helps me to stay in my home of 53

years.”5

          For employment, Bernard has worked steadily since separating from the military.

Hardworking and entrepreneurial, he first enrolled in the JATC Apprenticeship Program at

IBEW Local 99 in Cranston, Rhode Island to become a certified master electrician in the state.

More recently, he worked full-time as a Building and Grounds Coordinator for the Rhode Island

Atomic Energy Commission at its Nuclear Science Center (RINSC) on the University of Rhode

Island Bay Campus in the Town of Narrangansett. Bernard was a valued nuclear facility

engineer, and he hoped to stay working there notwithstanding his offense.

          In the swirl of press immediately following his arrest, many in the media raised questions

about the continued safe operation of the reactor and facility with Bernard. Assistant Director of

the RINSC Michael J. (“Jeff”) Davis swiftly addressed such questions, commenting publicly to

the Boston Globe that: “We are a very small agency. We have 8.6 full-time equivalent[ ]

employees. This is someone I worked with for years and I have a sense of his character. We

don’t see him as a threat.”6 Unfortunately, Bernard was terminated from his job a month after his




5
    See Letter of Christine A. Sirr, attached as Exhibit F at 4-5.
6
 Amanda Milkovits, Employee at R.I. Nuclear Science Center indicted in Jan. 6 insurrection,
Boston Globe, Jun. 29, 2022, available at
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arrest because of the negative publicity his offense generated. Bernard hoped for other

employment with similar pay and advancement opportunities following his termination, but

prospects were limited. Accordingly, Bernard put his electrical training to use and now works as

a self-employed master electrician.

       On June 29, 2022, Bernard was arrested at his mother’s home in North Kingstown—

where Bernard, his wife, and their daughter have been residing since June of 2021 while Bernard

builds their new family home on the plot of land he and his wife purchased in West Greenwich.

Space at his mother’s house is limited. His son correspondingly lives separately at his maternal

grandparents’ house. With the reduction in family household income due to Bernard’s job loss,

Bernard has been acting as the general contractor to finish building the new family home and

save money.

                                  III. OFFENSE CONDUCT

       With the exception of January 6th, Bernard has lived the past four-plus decades of his life

peacefully without ever having been accused of a crime. He was simply an ordinary American

who loved his family, cherished his friends, and paid his taxes.

       Why then would Bernard, an Army veteran, doting husband and father, and good citizen

with a respectable background and stable job come to DC—like thousands of other average

American citizens from all over the country—to commit these crimes? District Judge Mehta

addressed this issue not long ago during a hearing in the sentencing of Andrew Cavanaugh.

Judge Mehta alluded this was able to occur because of:

       the power of the propaganda; the power of being told lies over and over and over
       again; told by leaders who knew better, that something was taken away from
       people when it wasn’t. It was an honest and fair election by every measure, yet

https://www.bostonglobe.com/2022/06/29/metro/second-rhode-islander-is-indicted-jan-6-
insurrection/ (last visited May 16, 2023).

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       people were told over and over and over again something that was not true, so
       much so that people like [the defendant] lost his way. While he’s not blameless . .
       . [t]he idea that, you know, people who have otherwise led modest and humble
       lives, who have not been political agitators, political activists, are now facing
       serious jail time is extraordinary.

(See Oct. 13, 2022 Sentencing Hr’g Tr. at 27-28, US v. Cavanaugh, Case No. 1:21-cr-362-APM

[Doc. 41].)

       Concerned by the former president’s words, Bernard had grown increasingly engaged in

politics during the Trump presidency and spent much of his spare time listening to podcasts and

consuming political content on the internet. Bernard presented himself as a supporter of

President Trump. And because Trump and his surrogates urged supporters to come to

Washington to attend a rally on January 6 to protest an election they repeatedly described as

fraudulent and stolen, Bernard decided to make the trip.

       Bernard didn’t have any friends in Rhode Island to go with him. He also didn’t wish to go

alone. So he spoke about it with a longtime friend who served in the Army with him and now

lived in Virginia. This friend referred Bernard to a local group of guys in Rhode Island who

would be interested in attending the rally. Bernard met with them a couple times about a month

in advance of January 6, and Bernard eventually decided to drive down in the same car with

three of them.

       Bernard did not come to Washington, DC with the intent to storm the Capitol. He did not

bring any weapons to the District. Nor did he bring any defensive gear. The same is true with

respect to the other three guys who traveled with him. The reality is that people like Bernard

were told lies, fed falsehoods, and believed that our election was stolen when it clearly was not.

Regrettably, decent people like Bernard took such falsehoods and lies to heart. His love of

country was used against him, and Bernard answered the call to stand up and defend our nation



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believing it was threatened. As distorted as Bernard’s mindset was at the time, his heart was set

on doing what he thought was right. Of course Bernard now knows that he was tricked by the

people he trusted. He understands that his conduct was harmful and inexcusable, and he is

profoundly saddened by the fact that he was a member of a mob that took part in what is a great

national embarrassment.

                                               ***

       On the morning of January 6, Bernard watched the speeches at the rally near the ellipse.

Later that afternoon, he joined the throngs of people who marched to the Capitol following the

president’s speech. While en route, people were showing each other pictures on their phones that

depicted protestors being physically harmed by the police and the ensuing violence happening on

Capitol grounds. Caught up in the hysteria of the crowd, Bernard continued onward to the

Capitol. He became separated from the small group he had traveled with from Rhode Island.

Walking in a line full of strangers, he advanced toward the tunnel area of the Lower West

Terrace. On arrival, he committed the offense described in the written proffer in support of his

change of plea, which Bernard assumes the Court is familiar with and he will not belabor here.

       In short, Bernard appeared in the tunnel area two times. He first entered the tunnel at

approximately 3:08 p.m., making his way toward the front of the police line. He was directly

behind the front line of rioters who were engaged in an assault against police officers. The group

of rioters surrounding him began chanting “heave! ho!” in unison as they moved back and forth

together against the police line guarding entry into the Capitol building. He exited soon after at

3:14 p.m. but stayed in the area on the Capitol grounds outside.

       An hour later, at approximately 4:14 p.m., Bernard reappeared near the tunnel doorway.

He had no intention of going back for a second time. He observed a man and woman with their



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teenage son and tried to tell them that there was no good reason for them to be there. Having

failed to dissuade them—or better yet follow his own advice—he found himself walking back up

the stairs to the mouth of the tunnel to assure their safety. When he reached the top of the stairs,

the couple and their son had apparently abandoned him and turned back. Bernard remained and

was once again swept up in the fervor of the large crowd of protestors.7

         The government has focused its evaluation of Bernard’s relative culpability on the fact

that he engaged with the Lower West Terrace tunnel twice. Though true, Bernard has been

adamant from the beginning that his aim was never to do harm. He never engaged in any

violence or assault of a law enforcement officer. He never caused any damage to public property,

and he never entered into the Capitol building.

         Bernard readily acknowledges he should have never been there at all. However, as video

evidence of the incident will affirm, Bernard’s conduct that day was not all bad. During his

second appearance in the Lower West Terrace tunnel, while being pushed from behind and

unable to leave, Bernard handed over a flagpole displaying the American flag to prevent its use

as a weapon by other rioters against law enforcement. He also helped hold back an advancing

mob against a tiring police line which allowed the officers to shift their position. The

undersigned has provided the Court with a number of brief video files that depict all this—files

that were sourced from a CCTV camera in the Capitol as well as police body-worn camera

footage from the Metropolitan Police Department.8


7
 The undersigned has been unable to locate surveillance footage or open source video
evidencing Bernard with this family. Defense counsel nevertheless notes that every other factual
description provided by Bernard of his January 6 conduct has borne out by video, and counsel
assumes the absence of video confirming this particular event is due to the absence of an
appropriate angle or nearby camera rather than it not being true or occurring.
8
    See Exs. B through E.

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       On September 9, 2022, Bernard sat down for a lengthy pre-plea interview with the FBI at

the U.S. Attorney’s Office for the District of Massachusetts in Boston. Bernard confessed to his

crime, accepting responsibility for his conduct and expressing regret to the special agents and

other officers who interviewed him. He also answered all of their questions to help authorities as

best he could, which the government acknowledges in its submission. On January 27, 2023,

Bernard pled guilty to Count One of the Indictment, charging him with violating 18 U.S.C. §

231(a)(3). He now stands prepared to be sentenced by the Court.

    IV. THE SENTENCING GUIDELINES AND ADVISORY GUIDELINE RANGE

       The sentencing guidelines do not expressly specify an applicable guideline for the civil

disorder offense of 18 U.S.C. § 231(a)(3). Where the guidelines do not promulgate an applicable

guideline, courts are to apply the most analogous offense guideline. See USSG § 2X5.1. The

most analogous guideline in this case is USSG § 2A2.4.

       Pursuant to USSG § 2A2.4(a), the base offense level is 10. There is a 3-level increase

under USSG § 2A2.4(b)(1)(A) if the offense involved physical contact. The government has not

been consistent in its application of the physical-contact enhancement in the Capitol breach

cases. The government and probation submit a 3-level increase is appropriate. Giving a 2-level

reduction for Bernard’s acceptance of responsibility, probation calculates an advisory guideline

range of 8 to 14 months of imprisonment, resulting from a total offense level of 11 and Criminal

History Category I. The guidelines further provide that the fine range for a total offense level of

11 is from $4,000 to $40,000, pursuant to USSG § 5E1.2(c)(3), and restitution must be ordered

per USSG § 5E1.1.9



9
 Per the terms of his Plea Agreement, Bernard has agreed to pay restitution in the amount of
$2,000. (Doc. 37.)

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       The above guidelines, however, are merely “the starting point.” Gall v. United States, 552

U.S. 38, 49 (2007). They are not the only consideration in formulating a fair and just sentence,

for no workable guideline could ever “account for many of the myriad factors that are properly

considered in fashioning just sentences.” United States v. Ovid, 2010 WL 3940724, at *1

(E.D.N.Y. 2010).

                           V. THE 18 U.S.C. § 3553(a) FACTORS

       The primary directive in § 3553(a) is that the Court must impose a sentence that is

“sufficient, but not greater than necessary” to achieve the goals of sentencing. 18 U.S.C. §

3553(a). Compliance with this statutory mandate requires a court to make an individualized

assessment of the defendant and consider each of the factors set forth in § 3553(a). These factors

include the nature and circumstances of the offense, the history and characteristics of the

defendant, the kinds of sentences available, the range established by the sentencing guidelines,

any pertinent policy statement from the sentencing commission, the need to avoid unwarranted

sentence disparities, and the need to provide restitution to any victims. Consideration of the

factors here supports a non-advisory guideline and non-custodial sentence.

       A.      The Defendant’s History and Characteristics

       Bernard’s history and characteristics are recounted in the Personal Background section

above as well as in the presentence report. In summary, Bernard is a 47 year-old man who has

lived in Rhode Island throughout his entire life. He has a loving and devoted wife with whom he

has raised two remarkable children. He is surrounded by extended family. He currently resides in

the basement of his mother’s house while he works to complete a new family home he is

building on land he and his wife purchased in rural Rhode Island. He is an electrician by trade.

His clothes are not fancy. He drives a pickup truck, while his wife has a small SUV. On Sundays,

he attends services at church.

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          In every way, Bernard leads a regular life. He deposits his paychecks, pays his bills, and

lives within his means. He helps his elderly mom with chores, supports his children as needed,

shovels the snow in the winter, and visits the New England beaches on occasion in the summer.

His character has never been called into question. As the testimonials from his family, friends,

minister, and others make plain, Bernard is a good and trustworthy person. Even his former

supervisor at the RINSC quelled negative suspicions about Bernard following his arrest in this

case and writes on his behalf still.10 Bernard is kind and generous. He is honest, thoughtful, and

hardworking. These good qualities should not be overshadowed by what was a totally aberrant

act for him. See, e.g., United States v. Howe, F.3d 128, 132 (3d Cir. 2008) (affirming

probationary sentence where applicable guidelines range was 18 to 24 months, as defendant’s

conduct was an “isolated” event in an otherwise long and entirely upstanding life); United States

v. Hadash, 408 F.3d 1080, 1084 (8th Cir. 2005) (finding basis for variance because the defendant

was a “law abiding citizen, who [did] an incredibly dumb thing”). A sentence within the advisory

guideline range of 8-14 months’ incarceration would therefore be far in excess of what is

necessary in this case.

          B.      Nature and Circumstances of the Offense

          The nature and circumstances of Bernard’s crime are discussed in the Offense Conduct

section above. While the facts constituting his crime for which he is ashamed need no repeating,

it merits re-emphasizing that Bernard has otherwise lived a peaceable life. Bernard came to

Washington, DC on January 6 because President Trump encouraged American citizens to come

to this city. The President of the United States, who had promised that the event would be

“wild,” urged these citizens to march to the Capitol after giving a speech stressing the


10
     See note 6, supra. See also Letter of Michael J. Davis, attached as Ex. F at 26.

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importance of this moment in history and the necessity to fight to stop the certification of the

election. While this by no means excuses Bernard’s conduct that day, it does provide context for

his actions: Bernard was acting in response to repeated calls for protest and that strong

Americans not sit idly by to permit what the former president and others trumpeted was an

election rife with widespread fraud. Bernard acknowledged his wrongdoing, fully accepting

responsibility. Following his arrest in this case, Bernard willingly cooperated with the arresting

officers. His cooperation with the government was full, transparent, and complete.

       C.      Need for the Sentence to Afford Adequate Deterrence, Protect the Public,
               Promote Respect for the Law, as well as Provide Just Punishment

       There is little need to deter Bernard, who has never done anything like this before and

will never do so again. Notwithstanding his thoughtless and momentary lapse in good judgment

on January 6, Bernard presents a vanishingly low risk of recidivism. His exemplary conduct and

high moral qualities should make it impossible for the Court to believe that Bernard represents a

danger to the public.

       The need to promote respect for the law and to provide just punishment in this case also

does not require the imposition of a sentence within the advisory guideline range, as Bernard has

already suffered severe consequences for his wrongs. The publicized nature of his prosecution

similarly sends a strong message to anyone who considers acting in a way that violates the laws

he has transgressed.

       On a personal level, the impact of the arrest on Bernard has been sobering. He has pled

guilty to a felony despite being considered one of the “average” non-peripheral offenders of that

day. Bernard has never before been convicted of any crime, much less a felony, and he will

suffer the collateral consequences of that for the rest of his life. Every effort to find new




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employment will be hindered by a felony on his record. He can never possess a firearm. His right

to vote is restricted. These and other consequences of his felony conviction cannot be overstated.

       Bernard has had a great deal of time to reflect on the choices he made to bring him to this

low point in his life, and he has had to confront his personal shame, embarrassment, as well as

face what will be his new future. Simply put, Bernard is now a felon who participated in the

Capitol riot on January 6—a day that will linger in this country forever. In the age of the internet,

his case and guilty plea will follow him wherever he goes. Merely Googling his name yields a

page full of articles from the Boston Globe, Providence Journal, Warwick Post, and other local

and national news sites, all of which echo in headlines his horrible mistake to participate in the

riot. This almost assures that his future job prospects as an enterprising contractor will forever be

uncertain. No one would wish to follow this fate, and Bernard has felt the weight of these

consequences, and his remorse is genuine and deep.

       D.      Need to Avoid Unwarranted Sentencing Disparities

       Finally, as to the need to avoid unwarranted sentencing disparities, the imposition of a

sentence within the advisory guideline range would result in a sentence that is far greater than

that imposed to date on any of the other defendants who engaged in similar conduct and were

convicted of the same crime.

       The sentencing chart attached as Exhibit A summarizes the sentencing information and

relevant offense conduct for each of the Capitol breach cases involving the crime of § 231(a)(3).

Nineteen of these defendants have been sentenced of a single-count violation of § 231(a)(3),

while dozens more have been sentenced in multiple-count convictions to include § 231(a)(3). A

small sampling of these January 6 cases are reviewed below, with key parts in the relevant

conduct highlighted for the Court’s convenience.



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                 1.      Cases with Sentences for a Single Count Conviction of 18:231(a)(3)

Case                  Sentence Imposed                     Relevant Conduct and Offender Characteristics

Baugh,                12 months and 1 day incarceration    Baugh and his friend Mark Mazza entered the West
Roger Kent            24 months’ supervised release        Terrace front. Baugh knew Mazza was armed with a
                      $2,000 restitution                   concealed firearm—a firearm that Mazza loaded
1:22-cr-313-JEB                                            with shotgun shells and hollow point rounds. Baugh
                                                           entered the LWT tunnel with Mazza where they both
        Guilty plea                                        engaged in several heave-ho efforts with the violent
                                                           mob. Baugh retreated, but again returned for a
                                                           second effort taking up a position at the mouth of the
                                                           tunnel. He watched the rioters attack the officers.
                                                           Mazza was one of those rioters inside the tunnel,
                                                           who took a metal baton from an officer and struck
                                                           him with it. Baugh knew Mazza stole this police
                                                           baton. Baugh then joined the other rioters, pushing
                                                           and yelling “heave! ho!” in a combined effort to
                                                           overwhelm and break through the police line. Baugh
                                                           knew that Mazza lost his firearm at the Capitol and
                                                           that Mazza intended to file a false police report.
                                                           After Mazza’s arrest, federal investigators
                                                           interviewed Baugh twice, during which he lied both
                                                           times. Baugh falsely denied that he entered the
                                                           tunnel area or had been involved in any violence
                                                           against officers.
Blair, David          5 months’ incarceration              Blair was in a crowd that was illegally on the west
                      18 months’ supervised release        lawn of the Capitol. MPD officers ordered the crowd
1:21-cr-186-CRC       $2,000 restitution                   to back away from the Capitol. Blair positioned
                                                           himself between the officer and the crowd and began
        Guilty plea                                        to walk in the space while waiving a Confederate
                                                           battle flag attached to a lacrosse stick. He yelled
                                                           “hell naw, quick backing up, don’t be scared.” As
                                                           officers advanced, one pushed Blair back toward the
                                                           crowd. Blair jumped back, squared his body to the
                                                           officer, and shouted, “What’s up motherfucker,
                                                           what’s up, what’s up bitch?” Blair then thrust the
                                                           lacrosse stick toward the chest area of Officer K.P.,
                                                           striking him. Several officers then restrained Blair on
                                                           the ground, thereafter removing him from the west
                                                           lawn to process his arrest.
Cooke, Nolan          12 months and 1 day incarceration    Cooke joined the front lines of the riot, helping lead
                      36 months’ supervised release        the charge to break through the police line on the
1:22-cr-52-RCL        $2,000 restitution                   east side. Cooke was part of the crowd that shoved
                                                           their way through a group of USCP officers, who
        Guilty plea                                        were providing security at the Rotunda Doors. While
                                                           in this crowd, Cooke yelled the following
                                                           statements, among others, “There’s a storm coming.”
                                                           “Get these motherfuckers.” “We’re coming
                                                           through.” “Nothing’s holding us back.” Cooke
                                                           ultimately climbed the steps to the Capitol where he
                                                           met more officers. He made physical contact with
                                                           them as he tried to push through the crowd. When he
                                                           reached the door of the Capitol, he banged on a
                                                           window with a flagpole displaying the American
                                                           flag. Though the government had no evidence of

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                                                           Cooke himself entering the Capitol building, he
                                                           encouraged others to “Break the glass.” “We’re
                                                           going in this way.”
Cortez, Christian     4 months’ incarceration              Cortez joined a crowd of rioters climbing the stairs
Glenn                 36 months’ supervised release        on the west side of the Capitol, ultimately reaching
                      60 hours’ community service          the Upper West Terrace. Cortez entered the Capitol
1:21-cr-317-TSC       $2,000 restitution                   through the Parliamentarian Door and traveled
                                                           through the building before law enforcement stopped
        Guilty plea                                        him and others from proceeding further. After
                                                           leaving the building, Cortez joined a crowd in front
                                                           of the North Doors, where rioters were attempting to
                                                           break Capitol doors down. Cortez stepped in front of
                                                           the doors while officers were trying to seal them, and
                                                           Cortez began yelling at them, stating “Fuck you!”
                                                           and “Oath breakers!” He slammed a blue-colored
                                                           flag down and stepped in front of the doors. Officers
                                                           pepper sprayed him. But even after being pepper
                                                           sprayed, Cortez did not move and instead taunted the
                                                           officers, yelling “Do it some fucking more!”
Fairchild, Jr.,       6 months’ incarceration              Fairchild wrestled away two police barricades from
Robert                $2,000 restitution                   officers trying to maintain a perimeter in the area of
                                                           the Capitol’s West Plaza. Fairchild also engaged in
1:21-cr-551-TFH                                            the pushing and pulling of the barriers, tussling with
                                                           law enforcement. On at least one occasion, he made
        Guilty plea                                        contact with an officer. He later illegally entered the
                                                           Capitol building through the Senate Wing Door.
Gerwatowski,          24 months’ probation                 Gerwatowski was at the front of a crowd just outside
Eric                  30 days’ home detention              the Upper House Doors. Capitol Police were
                      60 hours’ community service          attempting to close these doors to prevent more
1:22-cr-125-JMC       $2,000 restitution                   rioters from entering the building. Gerwatowski
                                                           pulled open one of the doors that the Capitol Police
        Guilty plea                                        had just closed. He then turned to the mob and
                                                           yelled, “Let’s go!” and directed more rioters into the
                                                           building. He himself then entered the building, too.
                                                           While inside, Gerwatowski walked down a corridor
                                                           and could be heard stating, “They’re raping kids and
                                                           they’re shooting kids” to another rioter who was
                                                           livestreaming. Gerwatowski left the Capitol after
                                                           being inside for about three minutes. Gerwatowski
                                                           was also interviewed on camera outside the building,
                                                           stating, among other things, “the commies are trying
                                                           to steal the country” and that he believed the election
                                                           was stolen.
Grayson, Kenneth      2 months’ incarceration              Grayson entered the Capitol building through the
                      24 months’ supervised release        Senate Wing Door and proceeded to the Crypt. He
1:21-cr-224-TSC       $2,000 restitution                   also entered the Rotunda area. While there, Grayson
                                                           found rioters who were pushing against a line of
        Guilty plea                                        officers in an attempt to gain access to the adjoining
                                                           hall. Grayson joined the rear of this group to push
                                                           against the police officers. Grayson then moved to
                                                           the side of the group toward the wall. Moments later,
                                                           another rioter yelled “Push!” after which Grayson




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                                                           again joined the rear of the group to push en masse
                                                           against the police line guarding the area.11
 Griswold,            75 days’ incarceration               Griswold was part of a group of rioters that gathered
 Andrew               24 months’ supervised release        together outside the Capitol’s East Rotunda doors,
                      $2,000 restitution                   surging toward the entrance to the building. Shouting
 1:21-cr-459-CRC                                           “heave, ho!” Griswold pushed on a rioter in front of
                                                           him and advanced toward the open doors. Once
        Guilty plea                                        inside, Griswold made his way to the Senate
                                                           Gallery.12 After leaving the building, he spoke to a
                                                           reporter declaring “We took the building. They
                                                           couldn’t stop us.” and “Don’t mess with us. Back
                                                           off. This is our country. We showed ‘em today. We
                                                           took it. They ran. And hid.” Later, Griswold deleted
                                                           evidence from his cell phone, which the FBI was
                                                           unable to recover or identify through forensic
                                                           analysis of Griswold’s phone. As for his criminal
                                                           history, Griswold had 6 prior criminal convictions in
                                                           early adulthood and another recent conviction for
                                                           driving impaired, for which he was sentenced to
                                                           probation and then later arrested on a probation
                                                           violation and re-sentenced to further probation.
 Presley, Ronnie      12 months’ incarceration             Presley illegally entered the Capitol through the
                      26 months’ supervised release        Upper West Terrace doorway. Presley then moved to
 1:21-cr-257-RDM      $2,000 restitution                   the Rotunda, shouting “Fight for this!” Multiple law
                                                           enforcement officers tried to clear the Rotunda of
        Guilty plea                                        rioters. Presley disregarded the verbal commands to
                                                           leave and instead physically confronted one officer
                                                           by leaning into the officer’s baton. After Presley left
                                                           the Capitol through the east Rotunda doorway, he
                                                           remained nearby outside. When a police officer
                                                           attempted to clear that area of rioters, Presley
                                                           grabbed and pulled on a police riot shield. At the
                                                           time of sentencing, Presely had prior state court
                                                           convictions in Tenn. for domestic assault, reckless
                                                           endangerment, driving while impaired, as well as
                                                           felony burglary.
 Romero, Moises       12 months and 1 day incarceration    Romero participated in the push against police
                      12 months’ supervised release        officers who were trying to keep rioters from
 1:21-cr-677-TSC      $2,000 restitution                   entering the Capitol through the damaged Senate
                                                           Wing Door. Officers created a temporary barrier out
        Guilty plea                                        of wooden displays to stop the flow of rioters.
                                                           Romero—in the front line of rioters—pushed the
                                                           temporary barrier against the USCP officers, who
                                                           were eventually overpowered. Romero and the other
                                                           rioters succeeded in pushing through and into the
                                                           Capitol. Once the barrier was broken, additional
                                                           rioters entered the Capitol through the Senate Wing
                                                           Door.

11
  The government did not seek a 3-level increase in Grayson for an offense involving physical
contact. (See Govt’s Sentencing Mem., US v. Grayson, Case No. 1:21-cr-224-TSC [Doc. 51].)
12
  Also no 3-level increase in Griswold under the physical-contact enhancement. (See Govt’s
Sentencing Mem. at 27, US v. Griswold, Case No. 1:21-cr-459-CRC [Doc. 52].)

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Shough, Geoffrey      6 months’ incarceration              Shough marched to the Capitol wearing a body
                      12 months’ supervised release        armor vest underneath a jacket, a ballistic-style
1:21-cr-197-DLF       200 hours’ community service         helmet with an Oath Keepers decal on the back,
                      $2,000 restitution                   goggles, hard-knuckle gloves, and a tan pouch
        Guilty plea                                        attached at his hip. Shough was with a crowd of
                                                           rioters illegally on the West Lawn of the Capitol
                                                           grounds. He carried and waved a large Texas flag
                                                           and cheered as other rioters attacked and
                                                           overwhelmed police officers nearby on the
                                                           Northwest steps. Shough then moved to the
                                                           Northwest Courtyard outside the Senate Wing Door.
                                                           Shough forcefully and unlawfully entered the
                                                           Capitol through the Senate Wing Door. He was
                                                           among the first individuals in the crowd that
                                                           overwhelmed officers during the breach of the
                                                           Senate Wing Door. After the rioters overwhelmed
                                                           the officers, Shough engaged in a very animated
                                                           conversation with one or more of the officers.
                                                           During his plea hearing, he acknowledged telling the
                                                           officers that they “should go home.” He traveled
                                                           through the Crypt, past the House Wing Door, and
                                                           through the Hall of Columns before finally exiting
                                                           the Capitol approximately 15 minutes after entry.


               2.        Cases with Sentences for Multiple Counts, Including a Conviction of
                         18:231(a)(3)

Case                  Offense of          Sentence Imposed            Relevant Conduct and Offender
                      Conviction                                      Characteristics
Cantwell,             18:231(a)(3) and    5 months’ incarceration     Cantwell joined rioters at the front of one
Lewis Easton          2                   36 months’ supervised       of the entrances into the Capitol using his
                                          release                     cellphone to make several video
1:21-cr-89-CKK                            $2,000 restitution          recordings of individuals battling officers.
                                                                      In one recording, he yelled “get the door
        Guilty plea                                                   open.” In other recording, he yelled that
                                                                      they needed “fresh patriots to the front.”
                                                                      At times, Cantwell participated in the
                                                                      mob by rocking back and forth while
                                                                      others chanted “heave ho” as they pushed
                                                                      against police. Cantwell also helped
                                                                      propel a flagpole toward the Lower West
                                                                      Terrace tunnel, where a variety of objects
                                                                      were being used to assault police.
                                                                      Cantwell recorded several videos, one in
                                                                      which he stated, “We’ve essentially
                                                                      stormed the Capitol building…we’re tired
                                                                      of the bullshit.” In another video, he said
                                                                      “liberty or death.” In an interview with
                                                                      the FBI, Cantwell falsely claimed that he
                                                                      went to the Capitol doors to “help”
                                                                      people. In a Facebook post, he falsely
                                                                      said that he helped people and protesters,
                                                                      that there was no major property damage,



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                                                                     and that he treated people with love and
                                                                     respect.13
 Mehaffie, David       18:111(a)(1) and   14 months’ incarceration   Mehaffie—given the nickname
                       2                  24 months’ supervised      #TunnelCommander by online
 1:21-cr-40-TNM        18:231(a)(3)       release                    investigators—was a key player in the
                       40:5104(e)(2)(D)                              melee and assault against law
     Convicted after   and 18:2                                      enforcement officers who were guarding
               trial   40:5104(e)(2)(F)                              the Lower West Terrace tunnel entrance.
                       and 18:2                                      Mehaffie first made his way onto the
                                                                     restricted Capitol grounds with two other
                                                                     co-defendants (Patrick McCaughey and
                                                                     Tristan Stevens). While his co-defendants
                                                                     taunted officers at the West Front,
                                                                     Mehaffie yelled at nearby rioters, “If we
                                                                     can’t fight over this wall, we can’t win
                                                                     this battle!” The police line at the West
                                                                     Front failed due to the siege of the
                                                                     advancing mob. Mehaffie and others then
                                                                     scaled the Southwest scaffolding and
                                                                     staircase to converge at the LWT tunnel.
                                                                     Taking a clear leadership role in urging
                                                                     the crowd to keep pushing, Mehaffie
                                                                     hung from an archway at the tunnel
                                                                     entrance for 26 minutes giving orders,
                                                                     shouting direction, and coordinating the
                                                                     efforts of the mob to overpower the
                                                                     police.
 Mostofsky, Aaron      18:641             8 months’ incarceration    Mostofsky—dressed as a caveman and
                       18:231(a)(3)       12 months’ supervised      carrying a walking stick or rod—was
 1:21-cr-138-JEB       18:1752(a)(1)      release                    among the crowd of rioters that
                                          200 hours’ community       overwhelmed a police perimeter near the
         Guilty plea                      service                    Peace Circle, due west of the Capitol
                                          $2,000 restitution         building. Mostofsky and other rioters then
                                                                     reached the West Plaza, where Mostofsky
                                                                     joined a group of rioters pushing against a
                                                                     police line that was attempting to limit the
                                                                     crowd’s access to the Capitol. Mostofsky
                                                                     broke the police line using his weight and
                                                                     strength. He then climbed the exterior
                                                                     stairs to the Capitol’s Upper West Terrace
                                                                     and then headed to the Senate Wing
                                                                     Door. En route, he picked up a USCP
                                                                     bullet-proof vest and put it on. The crowd
                                                                     broke windows next to the Senate Wing
                                                                     Door, entered the Capitol and then broke
                                                                     the doors open from inside the building.
                                                                     Mostofsky entered through the door as
                                                                     the twelfth person to enter the Capitol
                                                                     building that way. Mostofsky picked up a
                                                                     U.S. Capitol Police riot shield and then

13
  No request by the government for a 3-level increase in Cantwell under the physical-contact
enhancement. (See Govt’s Sentencing Mem. at 28, US v. Cantwell, Case No. 1:21-cr-89-CKK
[Doc. 49].)

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                                                                    followed other rioters to a staircase,
                                                                    where they pursued a USCP officer
                                                                    upstairs and into the Ohio Clock Corridor,
                                                                    outside the Senate Chamber. Mostofsky
                                                                    gave an interview to a reporter and then
                                                                    left the building. He still had the police
                                                                    vest and riot shield with him until a
                                                                    Capitol Police officer took the shield
                                                                    away from him.
 Sargent, Troy        18:231(a)(3)       14 months’ incarceration   Sargent stepped out of the crowd and
                      18:111(a)(1)       24 months’ supervised      swung his open hand at a USCP officer,
 1:21-cr-258-TFH      18:1752(a)(1)      release                    making contact with the officer.
                      18:1752(a)(2)      $500 restitution           Immediately afterward, another officer,
        Guilty plea   18:1752(a)(4)                                 instructed Sargent and others, “Do not
                      40:5104(e)(2)(F)                              start attacking people.” Seconds later,
                                                                    Sargent again advanced toward the front
                                                                    of the crowd and swung his open hand
                                                                    toward the same officer; this time, he
                                                                    made contact with someone else in the
                                                                    crowd though he intended to strike the
                                                                    officer. In a social media message, he
                                                                    wrote “I got two hits in on the same
                                                                    rookie cop” and “yeah every time he
                                                                    came in his visor was all full of [mace so]
                                                                    I knew [he] couldn’t see shit so I just
                                                                    jumped out from behind somebody
                                                                    punched him as hard as I could [right] in
                                                                    his [visor] .”
 Young, Philip S.     18:111(a)(1)       8 months’ incarceration    Young was illegally on the Capitol
                      18:231(a)(3)       36 months’ supervised      grounds, standing on the stairs leading to
 1:21-cr-617-DLF      18:1752(a)(1)      release                    the Upper West Terrace. Someone in the
                      18:1752(a)(2)      $2,000 restitution         crowd shouted “1,2,3 go!” and Young
        Guilty plea   18:1752(a)(4)                                 went up the stairs. Young was one of
                      40:5104(e)(2)(D)                              several people that lifted and pushed a
                      40:5104(e)(2)(F)                              metal bike rack barricade into a line of
                                                                    law enforcement officers from the MPD
                                                                    and Capitol Police. Young later made his
                                                                    way to the east courtyard of the Capitol,
                                                                    where he let air out of the tires of a
                                                                    federal government vehicle.



                 3.     The Distinctions Between the Instant Case and Others are Manifold

       As the above tables show, a comparison of Bernard’s relevant conduct and life history to

the conduct and history of these other defendants would not justify the disparity in sentencing

that the applicable guidelines here would create. Indeed, the distinctions between Bernard’s case

and these others are manifold. Bernard did not possess a weapon or use defensive gear. He did

not smash windows, break open doors, hold open doors, or physically damage public property.

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He did not sabotage police vehicles or steal a police baton or body vest. He did not act as a

leader in the riot, exercise managerial authority over any other participant, or direct other rioters

where to go. He did not assault any law enforcement officers or encourage others to do so. He

did not cheer on acts of violence and destruction. He did not shout any slurs, curse words, or get

into any wrestling matches over police barricades. He did not breach the Senate chamber, House

chamber, or walk around inside the Capitol building. He did not lie or make any false statements

to the authorities, and he did not have a prior criminal record.

       The defendants and offense conduct in the other Capitol breach cases involving §

231(a)(3) are different. To take just one example, consider Andrew Griswold whose offense

conduct is arguably the most similar to Bernard’s.

       Andrew Griswold was a heave-hoer outside of the East Rotunda Doors who pushed in a

coordinated fashion against the police line while chanting “heave-ho!” Pushing on the rioter in

front of him, Griswold and the mob surged against the police. The similarities between the two

cases, however, end there. Griswold entered the Capitol turning his body sideways to manage a

narrow passage through the open doorway between the police and the doorframe. Once inside,

Griswold climbed up on a bench and held up a mobile phone to take photograph or video. He

then walked up a flight of stairs, hugging another rioter while pumping his fist in the air.

Upstairs, Griswold made his way down a hallway where he entered the Senate Gallery. He spent

12 minutes inside the Capitol building. After exiting, Griswold bragged about his actions to a

reporter and celebrated the human suffering the riot caused by taunting members of Congress

who “ran and hid” and mocking police officers who “couldn’t stop us.” Later, Griswold

destroyed evidence.




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       At the time of his sentencing, Griswold had six prior convictions. His extensive criminal

history and recent 2018 conviction—for which he was sentenced to probation and then later

arrested for a probation violation and re-sentenced to further probation—was not sufficient to

deter Griswold from committing his crimes on January 6. Judge Cooper considered all of this,

and on July 13, 2022 sentenced Griswold to 75 days of incarceration, followed by 24 months of

supervised release, with an order of restitution in the amount of $2,000.

       Bernard acknowledges his wrongdoing. He regrets his acts more than anything and his

contrition—reflected in his pre-plea witness interview with the FBI—is honest and sincere.

Given Bernard’s law-abiding history, mindset at the time of the January 6 riot, deep remorse, and

cooperation with the government, a non-advisory guideline and non-custodial sentence involving

probation, community service, and restitution would be justified. But if the Court were to

conclude that the instant offense requires more, a brief period of incarceration—even if served in

the form of home confinement—followed by a brief term of supervised release, would not be

greater than necessary to accomplish the goals of sentencing.

                                       VI. CONCLUSION

       Just punishment in this case does not require the imposition of a sentence as high as the

advisory guideline range, probation, or the government might recommend. Bernard has already

suffered greatly. He has lost his job. He is a convicted felon. He has felt the depths of shame,

humiliation, and remorse for his actions. Moreover, he has accepted responsibility for his wrongs

and has done everything he could to atone for them through cooperation with the government.

For all of these reasons and those that will be presented during the sentencing hearing in this

matter, Bernard respectfully prays that the Court depart from the prescribed guideline range,

reject the sentencing recommendations made by the government, and instead impose the

sentence defense counsel has requested herein. The Court should issue a restitution order in the

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amount of $2,000. The Court should decline to impose a monetary fine. A special assessment of

$100 is mandatory, pursuant to 18 U.S.C. § 3013. In the event a custodial sentence is imposed,

the undersigned respectfully requests that Bernard be permitted to self-surrender.

Dated: May 16, 2023                          Respectfully submitted,

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